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                         IN THE CIRCUIT COURT OF THE TWENTIETH JUDICIAL CIRCUIT
                                   IN AND FOR COLLIER COUNTY, FLORIDA

                                                                             CASE NO.:

           ZURICH AMERICAN INSURANCE
           COMPANY, a foreign profit corporation
           a/s/o EAGLE CREEK GOLF & COUNTRY
           CLUB,INC.,

                  Plaintiff,
           v.

           ARIZONA DISCOUNT ATV LLC, a foreign
           limited liability company, d/b/a FAT TIRE GOLF
           SCOOTER


                  Defendant.
           - - - - - - - - - - - - - - - -I

                                                        COMPLAINT

                  Plaintiff, ZURICH AMERICAN INSURANCE COMPANY, a foreign profit corporation a/s/o,

           EAGLE CREEK GOLF & COUNTRY CLUB, INC., by and through undersigned counsel, and

           pursuant to the Florida Rules of Civil Procedure, sues Defendant, ARIZONA DISCOUNT ATV LLC,

           a foreign limited liability company, d/b/a FAT TIRE GOLF SCOOTER and as grounds, states as

           follows:

                                       JURISDICTION, VENUE, AND PARTIES

                  1.      This is a subrogated cause of action for damages to real and personal property owned

           by EAGLE CREEK GOLF & COUNTRY CLUB, INC. (hereinafter referred as "EAGLE"); said

           damages exceed Thirty Thousand ($30,000.00) Dollars, exclusive of interest, attorneys' fees and costs

           and, therefore, the subrogated cause of action is within the subject matter jurisdiction of this Court.

                  2.      At all times material, ZURICH AMERICAN INSURANCE COMPANY ("ZURICH")

           was and remains a foreign insurance corporation, doing business as an insurance carrier, properly




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registered with the Florida Department of Insurance, and therefore, is authorized to transact business,

and is transacting business, in the State of Florida, and in particular, in Collier County, Florida.

         3.       At all times material, EAGLE owned the property located at 401 Tower Road, Naples,

FL 34113 ("Loss Location").

         4.       At all times material, ARIZONA DISCOUNT ATV LLC d/b/a FAT TIRE GOLF

SCOOTER ("ATV") was and is a foreign corporation with its principal place of business at 7073 W

Campo Bello, Glendale, AZ 85308 which transacts business in Collier County, Florida

         5.       Venue is proper in Collier County, Florida because all the acts or omissions which give

rise to this litigation occurred in Collier County, Florida.

                                            BACKGROUND ALLEGATIONS

         6.       Prior to October 17, 2020, EAGLE purchased an electric scooter ("Subject Scooter")

from ATV.

         7.       On or about October 17, 2020, a defect in the Subject Scooter caused a fire that damaged

the Loss Location.

         8.       As a result of ATV' s defective product, a fire ignited inside the Subject Scooter, causing

significant damage to the Loss Location.

         9.       ATV owed EAGLE a duty ofreasonable care not to damage EAGLE's property.

         10.      ATV breached their duty to EAGLE when Subject Scooter contained a defect that

started the fire which damaged the Loss Location.

         11.      EAGLE timely notified ZURICH, its insurer, of its claim for damages. ZURICH

determined the loss was a "covered loss" and paid accordingly. ZURICH is subrogated to all the rights,

claims, and causes of action that EAGLE would otherwise have against ATV for damages caused to

EAGLE.
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          12.      ZURICH has complied with all conditions precedent to the filing of this lawsuit.

          13.      ZURICH also seeks to recover EAGLE's $5,000.00 deductible on their behalf.



                                                COUNT I: STRICT LIABILITY

          14.      ZURICH hereby realleges and incorporates paragraphs 1-12 as if fully set forth herein,

and further states:

          15.      At all times material, ATV was in the business of manufacturing electric scooters

including the Subject Electric Scooter located at the Loss Location.

          16.      ATV placed the Subject Electric Scooter on the market with knowledge that it would be

used without inspection for defects or unknown dangers.

          17.      A TV knew or should have known that ultimate users, operators or consumers would not

and could not properly inspect the Subject Electric Scooter for defects and dangerous conditions, and

that the detection of such defects or dangers would be beyond the capabilities of such persons.

          18.      The Subject Electric Scooter was defective and umeasonably dangerous to ultimate

users, operators or consumers when sold and distributed due to the product igniting a fire.

          19.      For the above stated reason, the Subject Electric Scooter was umeasonably dangerous

to foreseeable users who used the Subject Electric Unit in an ordinary and foreseeable manner.

         20.       On or about October 17, 2020, the Subject Electric Scooter failed and caused a fire

which severely damaged the Loss Location.

         21.       At all times material, the Subject Electric Scooter was being used for its intended

purpose.
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         22.      The Subject Electric Scooter described above directly and proximately caused the

damages sustained by EAGLE, and in tum, ZURICH in the amount of $505,096.10, in that it directly,

and in natural and continuous sequence, produced or contributed substantially to the damages.

         WHEREFORE, ZURICH AMERICAN INSURANCE COMPANY, a foreign profit

corporation a/s/o, EAGLE CREEK GOLF & COUNTRY CLUB, INC. hereby demand judgment

against Defendant's, ARIZONA DISCOUNT ATV LLC, a foreign limited liability company, d/b/a

FAT TIRE GOLF SCOOTER for damages in the amount of $505,096.10 along with costs, pre-

judgment interest, and all other relief which this Honorable Court deems just and proper under the

circumstances.


                                               COUNT II: NEGLIGENCE


         23.      ZURICH hereby realleges and incorporates paragraphs 1-12 as if fully set forth herein,

and further states:

         24.      At all times material, ATV owed a duty of reasonable care to manufacture the Subject

Electric Scooter in such a way so as to not cause a fire to occur.

         25.      ATV breached that duty by manufacturing the Subject Electric Scooter in a manner

which caused a fire to ignite inside the product.

         26.      As a direct and proximate result of ATV's breach, the Subject Electric Scooter failed

and caused fire damages to the Loss Location.

         27.      As a direct and proximate result of ATV's breach, EAGLE, and in tum, ZURICH, have

sustained damages.


         WHEREFORE, ZURICH AMERICAN INSURANCE COMPANY, a foreign profit

corporation a/s/o, EAGLE CREEK GOLF & COUNTRY CLUB, INC. hereby demand judgment
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against Defendant's, ARIZONA DISCOUNT ATV LLC, a foreign limited liability company, d/b/a

FAT TIRE GOLF SCOOTER for damages in the amount of $505,096.10 along with costs, pre-

judgment interest, and all other relief which this Honorable Court deems just and proper under the

circumstances.


DATED this 20th day of May 2022.


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